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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :                   CRIMINAL NO. 1-22-cr-38 (CKK)
                                    :
JOLENE EICHER                       :
                                    :
____________________________________:


                         MOTION TO WITHDRAW AS COUNSEL


   Undersigned counsel moves this Honorable Court to allow him to withdraw as counsel. In

   support of this motion, counsel states as follows:

   1. Jolene Eicher is before the Court charged by Information with violations of one count each

      of: Entering and Remaining in a Restricted Building, 18 U.S.C. § 1752(a)(1); Disorderly

      and Disruptive Conduct in a Restricted Building, 18 U.S.C. § 1752(a)(2); Violent Entry

      and Disorderly Conduct on a Capitol Building, 40 U.S.C. §5104(e)(2(D); and Parading,

      Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. §5104(e)(2)(G). A trial date

      is set for 5th June 2023. An interim status hearing is currently set for 9th March 2023.

   2. On 1st February 2023, following discussions with government counsel and Ms Eicher,

      counsel filed a Consent Motion to Vacate the currently set trial date. The Court denied that

      Motion on the same date.

   3. The current trial date was set at a hearing in September 2022. At that hearing, the parties

      and the Court projected a five-day window for this matter to be tried. However, recent

      January 6 jury trials, including one that counsel is currently in, have shown that this

      projection has become unrealistic. Irrespective of this matter being a misdemeanor,

      impaneling a jury for a January 6th matter is taking much longer than any Court has
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                    anticipated. This was something not apparent to the parties in September 2022. However,

                    counsel relied upon that five-day trial projection, and made personal travel plans

                    commensurate. It is how January 6 trials have actually proceeded that has created this new

                    situation of unavailability.

                 4. With respect to the travel plans, these are family travel plans that are extremely date

                    specific such that alteration of the dates is impossible. Cancellation of the plans would

                    come at great personal and financial cost. Again, the scheduling of the travel plans was

                    made in reliance on the projected trial window, a projection that is now unrealistic.

                 5. As the manner in which January 6 jury trials were evolving became apparent, it became

                    clear that a scheduling conflict was emerging. Counsel reached out to the Court’s

                    courtroom deputy merely to gain information as to the Court’s summer schedule to aid the

                    parties in discussing how to proceed.

                 6. Counsel filed the Consent Motion to Vacate Trial Date on 1st February 2023. The Court

                    denied that Motion the same day. Counsel and Ms Eicher have discussed the Court’s ruling

                    and while we respect the Court’s ruling, we recognize this creates a conflict. Both counsel

                    and Ms Eicher agree the personal interests at stake on the part of counsel creates a conflict

                    that the Rules of Professional Conduct and Ethics mandate an appropriate resolution: That

                    being counsel moving to withdraw. Counsel and Ms Eicher note that at the time of this

                    filing the current trial date is still five months away allowing new counsel the opportunity

                    to move forward with Ms Eicher appropriately

                 7. Counsel has engaged the assigned Assistant U.S. Attorney on this matter: Mr Christopher

                    Brunwin. Mr Brunwin is aware of this request.
PeterCooperLaw




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                    WHEREFORE, for the above reasons, undersigned counsel and Jolene Eicher, respectfully

                    request that this Court grant this Motion to Withdraw in the above-captioned proceeding and

                    to appoint new counsel.



                                                            Respectfully Submitted,

                                                            /s/ Peter A. Cooper
                                                            Peter A. Cooper, (#478-082)
                                                            400 Fifth Street, NW.
                                                            Suite 350
                                                            Washington DC 20001
                                                            pcooper@petercooperlaw.com
                                                            Counsel for Jolene Eicher




                                                CERTIFICATE OF SERVICE

                         I HEREBY CERTIFY that a copy of the foregoing Motion to Withdraw as Counsel is
                 being filed via the Electronic Court Filing System (ECF), causing a copy to be served upon
                 government counsel of record, this 2nd day of February, 2023.

                                                            /s/ Peter A. Cooper
                                                            Peter A. Cooper
PeterCooperLaw




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